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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE,

        Plaintiff,

                        v.                               Case No. 1:25-cv-11472

 DEPARTMENT OF HOMELAND SECURITY,
 et al.,

        Defendants.


                  ORDER GRANTING PLAINTIFF’S
           MOTION FOR A TEMPORARY RESTRAINING ORDER

       For purposes of Federal Rule of Civil Procedure 65(b), the President and Fellows of

Harvard College (“Plaintiff”) has made a sufficient showing that it has provided notice to

Defendants Department of Homeland Security, Kristi Noem, Immigration and Customs

Enforcement, Todd Lyons, Department of Justice, Pamela Bondi, Student and Exchange Visitor

Program, Jim Hicks, Department of State, and Marco Rubio (collectively, “Defendants”) and that,

unless its Motion for a Temporary Restraining Order (“TRO”), [ECF No. 4 (the “Motion”)],

is granted, it will sustain immediate and irreparable injury before there is an opportunity to hear

from all parties. Thus, a TRO is justified to preserve the status quo pending a hearing and the

Plaintiff’s Motion is GRANTED.


       Accordingly, Defendants, their agents, and anyone acting in concert or participation with

Defendants are hereby enjoined from:

           A. Implementing, instituting, maintaining, or giving effect to the revocation of

               Plaintiff’s SEVP certification;

           B. Giving any force or effect to the Department of Homeland Security’s May 22, 2025

               Revocation Notice.
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It is so ordered.


May 23, 2025                                    /s/Allison D. Burroughs
                                                ALLISON D. BURROUGHS
                                                U.S. DISTRICT JUDGE
